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                                   United States District Court
                                  Southern District of New York

Virginia L. Giuffre,

                 Plaintiff,                    Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

             Defendant.
______________________________/

   DECLARATION OF SIGRID S. MCCAWLEY IN PLAINTIFF’S RESPONSE IN
 OPPOSITION TO DEFENDANT’S MOTION FOR DEFENDANT’S RULE 37(b) &(c)
SANCTIONS FOR FAILURE TO COMPLY WITH COURT ORDER AND FAILURE TO
                     COMPLY WITH RUILE 26(a)

       I, Sigrid S. McCawley, declare that the below is true and correct to the best of my

knowledge as follows:

         1.     I am a Partner with the law firm of Boies, Schiller & Flexner LLP and duly

licensed to practice in Florida and before this Court pursuant to this Court’s Order granting my

Application to Appear Pro Hac Vice.

         2.     I respectfully submit this Declaration in response to Defendant’s Motion for

Defendant’s Rule 37(b) &(c) Sanctions for Failure to Comply with Court Order and Failure to

Comply with Rule 26(a).

         3.      Attached hereto as Sealed Exhibit 1 is a true and correct copy of

                                                  .

         4.     Attached hereto as Sealed Exhibit 2 is a true and correct copy of
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                                          .

 5.     Attached hereto as Sealed Exhibit 3 is a true and correct copy of

                                      .

 6.     Attached hereto as Sealed Exhibit 4 is a true and correct copy of



 7.     Attached hereto as Sealed Composite Exhibit 5 is a true and correct copy of



 8.     Attached hereto as Sealed Composite Exhibit 6 is a true and correct copy of



 9.      Attached hereto as Sealed Composite Exhibit 7 is a true and correct copy of




 10.    Attached hereto as Sealed Exhibit 8 is a true and correct copy of



 11.     Attached hereto as Sealed Exhibit 9, is a true and correct copy of



 12.    Attached hereto as Sealed Exhibit 10 is a true and correct copy of




I declare under penalty of perjury that the foregoing is true and correct.

                                          /s/ Sigrid McCawley
                                          Sigrid McCawley




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Dated: June 28, 2016

                                 Respectfully Submitted,

                                 BOIES, SCHILLER & FLEXNER LLP

                            By: /s/ Sigrid McCawley
                                Sigrid McCawley (Pro Hac Vice)
                                Meredith Schultz (Pro Hac Vice)
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2016, I electronically filed the foregoing

document with the Clerk of Court by using the CM/ECF system. I also certify that the foregoing

document is being served to all parties of record via transmission of the Electronic Court Filing

System generated by CM/ECF.


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                                                         /s/ Sigrid S. McCawley
                                                         Sigrid S. McCawley, Esq.




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